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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL NO.
Vv. ; DATE FILED:
KEVIN CHRISTMAS : VIOLATIONS:

21 U.S.C. § 841(a)(1), (b)(1)(C)
(possession with intent to distribute
controlled substances — 1 count)

21 U.S.C. § 924(c)(1) (possession of a
firearm in furtherance of a drug
trafficking crime — 1 count)

18 U.S.C. § 922(g)(1) (possession of a
firearm by a felon — 1 count)

Notice of Forfeiture

INDICTMENT

COUNT ONE

THE GRAND JURY CHARGES THAT:

On or about June 27, 2023, in Philadelphia, in the Eastern District of
Pennsylvania, defendant

KEVIN CHRISTMAS

knowingly and intentionally possessed a mixture and substance containing a detectable amount
of methamphetamine, a Schedule II controlled substance, a mixture and substance containing a
detectable amount of methylenedioxymethamphetamine, a Schedule I controlled substance, and a
mixture and substance containing a detectable amount of oxycodone, a Schedule II controlled

substance.

In violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(C).
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COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

On or about June 27, 2023, in Philadelphia, in the Eastern District of
Pennsylvania, defendant

KEVIN CHRISTMAS

knowingly possessed a firearm, that is, a Ruger, model EC9s, 9mm caliber pistol, bearing serial
number 456-42140, loaded with 10 rounds of ammunition, in furtherance of a drug trafficking
crime for which he may be prosecuted in a court of the United States, that is, possession with the
intent to distribute a controlled substance, in violation of Title 21, United States Code, Section
841(a)(1), as charged in Count One of this indictment.

In violation of Title 18, United States Code, Section 924(c)(1).
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COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:

On or about June 27, 2023, in Philadelphia, in the Eastern District of
Pennsylvania, defendant

KEVIN CHRISTMAS

knowing he had previously been convicted in a court of the Commonwealth of Pennsylvania of a
crime punishable by imprisonment for a term exceeding one year, knowingly possessed a
firearm, that is, a Ruger, model EC9s, 9mm caliber pistol, bearing serial number 456-42140,
loaded with 10 rounds of ammunition, and the firearm was in and affecting interstate and foreign
commerce.

In violation of Title 18, United States Code, Section 922(g)(1).
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NOTICE OF FORFEITURE 1

THE GRAND JURY FURTHER CHARGES THAT:

As a result of the violation of Title 18, United States Code, Sections 922(g)(1) and
924(c) set forth in this indictment, defendant

KEVIN CHRISTMAS

shall forfeit to the United States of America the firearms and ammunition involved in the
commission of such offenses, including, but not limited to:

l. a Ruger, model EC9s, 9mm caliber pistol, bearing serial number 456-
42140;

2. 10 live rounds of 9mm ammunition;

3 $212 in United States Currency; and

4. any property constituting, or derived from, proceeds obtained directly or
indirectly from the commission of such offense.

All pursuant to Title 28, United States Code, Section 2461(c) and Title 18, United

States Code, Section 924(d).
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NOTICE OF FORFEITURE 2

THE GRAND JURY FURTHER CHARGES THAT:
Lt As aresult of the violation of Title 21, United States Code, Section
841(a)(1), set forth in this indictment, defendant
KEVIN CHRISTMAS
shall forfeit to the United States of America:

(a) any property used or intended to be used, in any manner or part, to
commit, or to facilitate the commission of, such violations, including but not limited to:

1. a Ruger, model EC9s, 9mm caliber pistol, bearing serial
number 456-42140;
2. 10 live rounds of 9mm ammunition;

(b) any property constituting, or derived from, proceeds obtained,
directly or indirectly, from the commission of such violations, including but not limited to
$212.00.

2. If any of the property described above as being subject to forfeiture, as a
result of any act or omission of the defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with a third person;

(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be

subdivided without difficulty;
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it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to
seek forfeiture of any property of said defendant up to the value of said property listed above as
being subject to forfeiture.

All pursuant to Title 21, United States Code, Section 853.

A TRUE BILL:

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JACQUELINE C. ROMERO
United States Attorney

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